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                                                                                         03/15/2018

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17cv00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
       Defendants.                              )       United States Magistrate Judge

         This matter is before the Court on a letter motion made by Kyle Chapman on behalf of

  Defendant Fraternal Order of the Alt-Knights, ECF No. 254, and Plaintiffs’ Motion to Strike and

  For an Entry of Default, ECF No. 262. The nondispositive motions are before me by referral

  under 28 U.S.C. § 636(b)(1)(A), and may be resolved without further briefing. ECF No. 101.

         Plaintiffs’ original Complaint asserted claims against several Defendants arising out of

  events that occurred in Charlottesville on August 11 and 12, 2017. ECF No. 1. The Complaint

  identified Defendant Fraternal Order of the Alt-Knights (“FOAK”) as an unincorporated

  association that is subject to suit under Virginia Code § 8.01-15. Compl. ¶ 42; see Fed. R. Civ. P.

  9(a), 17(b)(3). Plaintiffs later filed a process server’s affidavit showing that on December 21,

  2017, the process server personally delivered a copy of the Complaint and summons addressed to

  Defendant “Fraternal Order of the Alt-Knights c/o Kyle Sean Chapman,” which Mr. Chapman

  was “authorized to accept,” to Mr. Chapman in Oakland, California. ECF No. 215; see Fed. R.

  Civ. P. 4(h)(1), (l)(1), (m). Defendant FOAK had until January 11, 2018, to file a responsive

  pleading. Fed. R. Civ. P. 12(a)(1)(A)(i).

         On January 8, the Court received a letter motion from Mr. Chapman asking for more time

  to find an attorney in Virginia so that FOAK could respond to the Complaint. See ECF No. 176.

  The presiding District Judge denied Mr. Chapman’s motion as moot because Plaintiffs had



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  recently filed their first Amended Complaint, ECF No. 175, and the federal rules automatically

  gave Defendant FOAK fourteen days from the date of service to file any required response. See

  Order of Jan. 11, 2018, at 1, ECF No. 177; Fed. R. Civ. P. 15(a)(3); see also Am. Compl. ¶ 41

  (naming FOAK as a Defendant). In early February, Plaintiffs filed a process server’s affidavit

  showing that on January 23, 2018, the process server personally delivered a summons and copy

  of the Amended Complaint to Mr. Chapman, which Mr. Chapman was “authorized to accept.”

  ECF No. 216. Id.; see Fed. R. Civ. P. 5(a)–(b). Defendant FOAK had until February 6, 2018, to

  respond to the Amended Complaint. Fed. R. Civ. P. 15(a)(3); see also Order of Jan. 11, 2018, at

  1. In late January, the Court received a second letter motion from Mr. Chapman, purportedly

  filed on FOAK’s behalf, in which he requested another three weeks to find counsel in Virginia.

  ECF No. 208. Additionally, Mr. Chapman “went ahead and filed a motion to dismiss [the

  Amended Complaint], a declaration in support of that motion to dismiss, and a brief in support of

  that motion to dismiss.” Order of Jan. 31, 2018, at 1 (docket citations omitted), ECF No. 210; see

  ECF Nos. 202 to 204. Mr. Chapman, “who is not a defendant in his personal capacity, personally

  filed all of these documents on behalf of Defendant [FOAK].” Order of Jan. 31, 2018, at 1.

         On January 31, the presiding District Judge entered an Order striking Mr. Chapman’s

  Rule 12 motion and supporting documents, and directing Defendant FOAK to retain a licensed

  attorney and to have that attorney note his or her appearance in this matter and file a proper

  responsive pleading to the Amended Complaint within fourteen days. Id. (citing W.D. Va. Gen.

  R. 6(a)–(d), (i)). The Order explained that “‘artificial entities’” such as Defendant FOAK “‘may

  appear in the federal courts only through licensed counsel,’” and that Mr. Chapman “may not

  represent [FOAK] in this Court because he does not appear to be a licensed attorney.” Id.

  (quoting Rowland v. Calif. Men’s Colony, 506 U.S. 194, 202–03 (1993)). The Order also



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  expressly warned that the failure to comply within the time allowed “will result in default being

  entered against Defendant [FOAK].” Id. at 2. As of today’s date, FOAK has neither retained an

  attorney nor properly filed any responsive pleadings.

         The Court received Mr. Chapman’s pending letter motion on March 6, 2018. ECF No.

  254. In this motion, Mr. Chapman asks the Court to “grant [him] the opportunity to represent

  FOAK pro se for the limited purpose of the duration in bringing and defendant FOAK’s motion

  to dismiss.” Chapman Mot. 4. Mr. Chapman points out a few examples where lower federal

  courts have allowed an individual party to appear pro se when the individual represents both

  himself and his closely held or alter-ego corporation as a co-party, and he asks the court to apply

  this “exception” to Rowland in FOAK’s case. Id. at 1–2 (collecting cases). Plaintiffs moved to

  strike Mr. Chapman’s letter motion as improperly filed and for entry of Defendant FOAK’s

  default. ECF No. 262.

         Although individuals “may plead and conduct their own cases” in federal court, 28

  U.S.C. § 1654, an organization that is a party to a lawsuit “cannot appear pro se as an artificial

  entity in any federal court litigation,” Tweedy v. RCAM Title Loans, LLC, 611 F. Supp. 2d 603,

  605 n.2 (W.D. Va. 2009) (emphasis added). And, because Mr. Chapman apparently concedes

  that he is not an attorney, see Order of Jan. 31, 2018, at 1, Mr. Chapman cannot properly sign,

  file, or serve any documents on Defendant FOAK’s behalf in this case. Freedom Hawk Kayak v.

  Ya Tai Elec. Appliances Co., 908 F. Supp. 2d 763, 766 n.2 (W.D. Va. 2012) (disregarding

  “corporation’s pro se filings” submitted by non-attorney individual purporting to be the corporate

  defendant’s “sole owner” because “[a] corporation may not appear pro se”); see also Fed. R. Civ.

  P. 11(a), 26(g)(1). Finally, while there are rare examples of an individual party being allowed to

  appear pro se when he represents both himself and his closely held or alter-ego corporation as a



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  co-party in federal litigation, Mr. Chapman “is not a defendant in his personal capacity” to this

  lawsuit, Order of Jan. 31, 2018, at 1, and he does not claim to be FOAK’s alter ego or sole

  proprietor, see Chapman Mot. 1–3. Moreover, all but one of Mr. Chapman’s cited cases predate

  the Supreme Court’s decision in Rowland, which makes clear that federal law “does not allow”

  corporations and other “artificial entities” to appear in federal court except through a licensed

  attorney. 506 U.S. at 202 (citing 28 U.S.C. § 1654). The other cited case involved unopposed

  requests by three unrepresented plaintiffs, two individuals and their “religious corporation,” to

  file a lawsuit without prepaying required fees and court costs. Moorish Holy Temple of Sci. of the

  World v. City of Raleigh Police Dep’t, No. 5:10cv548, 2011 U.S. Dist. LEXIS 94535, at *2

  (E.D.N.C. Feb. 18, 2011), adopted by 2011 U.S. Dist. LEXIS 95626 (E.D.N.C. Apr. 2, 2011).

  The magistrate judge noted that the corporate plaintiff “must be represented by licensed counsel

  in federal court,” but he allowed the matter to proceed “solely for the purpose” of recommending

  that the action be summarily dismissed as frivolous under 28 U.S.C. § 1915(e)(2). Id. at *2

  (citing Rowland, 506 U.S. at 201–02); see id. at *11–12. Thus, Moorish Holy Temple does not

  support Mr. Chapman’s request to represent Defendant FOAK pro se on any forthcoming motion

  to dismiss.

         The record in this matter shows that Defendant FOAK was served with a summons and

  copy of the Amended Complaint, and that, despite being on notice of its obligation to do so,

  FOAK “has failed to plead or otherwise defend” against this lawsuit, Fed. R. Civ. P. 55(a),

  within the time allowed. See Capital Concepts, Inc. v. CDI Media Grp. Corp., No. 3:14cv14,

  2014 WL 3748249, at *4 (W.D. Va. July 29, 2014) (“[R]eturns of service like those present on

  this record act as prima facie evidence of valid service.”); Tweedy, 611 F. Supp. 2d at 605 n.2

  (“[T]he clerk did not acknowledge the [pro se] response as an answer and properly entered



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  RCAM’s default pursuant to Rules 12(a)(1)(A)(i) and 55(a).”); Order of Jan. 31, 2018, at 2;

  Order of Jan. 11, 2018, at 1 (citing Fed. R. Civ. P. 15(a)(3)). Subsequent to Chapman filing the

  letter motion and Plaintiffs filing their opposition, Plaintiffs moved for default. ECF No. 265.

  The Clerk then entered default against FOAK. ECF No. 270.

         Accordingly, Mr. Chapman’s letter motion, ECF No. 254, is hereby DENIED, and

  Plaintiffs’ Motion, ECF No. 262, is hereby GRANTED. Because the Clerk has already entered

  default against FOAK, the Plaintiffs’ request for entry of default, although proper at the time it

  was made, is now moot.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to counsel of record and to Kyle Chapman.

                                                ENTER: March 15, 2018



                                                Joel C. Hoppe
                                                United States Magistrate Judge




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